

ORDER

Granted in part; denied in part.
The judgment of the court of appeal affirming the district court’s denial of Zurich’s motion for summary judgment is affirmed. The judgment of the court of appeal reversing the district court’s denial of State Farm’s motion for summary judgment is reversed and set aside. There appears to be genuine issues of material facts relating to the UM *137coverage provided by the Zurich policy, precluding the granting of either motion for summary judgment. The effect of this action is that the judgment of the district court denying both motions for summary judgment is affirmed. Otherwise, the writ applications are denied.
KIMBALL, J., would grant State Farm’s motion for summary judgment.
DENNIS, J., not on panel.
